









Dismissed and Memorandum Opinion filed September 8, 2005









Dismissed and Memorandum Opinion filed September 8,
2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00390-CR

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&nbsp;

EX PARTE
DENNIS RICHARDS

&nbsp;



&nbsp;

On Appeal from the
177th District Court

Harris County,
Texas

Trial Court Cause No.
1021857

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this
Court has not delivered an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered
and Memorandum Opinion filed September 8, 2005.

Panel consists of
Justices Fowler, Edelman, and Guzman.

Do not publish C Tex.
R. App. P. 47.2(b).

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